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10 Killian Court, Merrimack NH 03054
603-320-4194
Dennis1T01 @Yahoo.com

To whom it may concern:

This letter is to confirm that Walter Norton was employed by DDS Airline Services, Inc. from
2015-2022, performing delivery services (1099 Subcontractor) and DRT Business Staffing, Inc. from
2020-2023, working as a dispatcher and working Company and promotional events in the

MA/NH area. Walter was always a well-liked worker and always performed his duties well.

Warm Regards,

Dennis Trose

Dennis Troso
President

EXHIBIT 4 ea

